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 1                             UNITED STATES DISTRICT COURT
 2                         EASTERN DISTRICT OF WASHINGTON
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 5
     UNITED STATES OF AMERICA,
                                                        No. CR-05-0202-FVS-3
 6
                      Plaintiff,

 7
                                                        ORDER DENYING MOTION TO ALLOW
                 v.                                     ELECTRONIC MONITORING
 8

 9
     LINDSAY KYLE,

10
                      Defendant.

11

12        THIS MATTER came before the Court for a telephonic hearing on the

13   Defendant’s Motion to Alter Judgment to Allow Electronic Monitoring,

14   Ct. Rec. 223.    The Defendant was represented by Gina M. Costello.                   The

15   United States was represented by Assistant United States Attorney Earl

16   A. Hicks.

17         The Court is persuaded that the Amended Judgement and sentence

18   are appropriate.    The sanctions imposed by the Amended Judgement are

19   reasonable in comparison to the sentences imposed upon defendants with

20   similar records who have been found guilty of similar conduct.                     The

21   Court is not persuaded that the Amended Judgment will result in an

22   automatic termination of the Defendant’s parental rights.                 Nor is the

23   Court convinced that the requested modification of the Defendant’s

24   Supervised Release would result in a just and reasonable sentence.

25        Accordingly, the Defendant’s Motion to Alter Judgment to Allow

26   Electronic Monitoring, Ct. Rec. 223, is DENIED.               The Amended Judgment


     ORDER DENYING MOTION TO ALLOW ELECTRONIC MONITORING- 1
      Case 2:05-cr-00202-FVS    ECF No. 232   filed 11/27/06   PageID.646 Page 2 of 2




 1   of September 25, 2006, Ct. Rec. 213, will stand as entered.
 2        IT IS SO ORDERED.        The District Court Executive is hereby
 3   directed to enter this order and furnish copies to counsel.
 4        DATED this       27      day of November, 2006.
 5
                                    s/ Fred Van Sickle
 6                                     Fred Van Sickle
                                United States District Judge
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     ORDER DENYING MOTION TO ALLOW ELECTRONIC MONITORING- 2
